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DESCR\PT|ON OF |MPROVEN\ENTS (confinued)

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

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Classrooms

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SUBJECT lNTERlOR FLOOR PLAN

 

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GOOGLE EARTH AER|AL PHOTOGRAPH
(imagery ddfe12/25/2010)

 

 

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SUBJECT PHOTOGRAPHS
(Source: ARO Arch|fect's Demo|ition Photos Dc\ted 2/6/2012)

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ANALYS|S AND STATEMENT OF HlGHEST AND BEST USE

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|'llghest and best use may be defined as the reasonable and probable legal use of vacant
land or an improved property that ls physically possible, appropriately supported, and financially
feasible and that results in the highest value.

The theoretical focus of highest and best use analysis ls on the potential uses of the land as
though vacant. |n practice, however, the contributory value of the existing improvements and any
possible alteration of those improvements are also important in determining highest and best use
and~, by extension, ln developing an opinion of the market value of the property.

The first definition applies specifically to the highest and best use of land or site as though
vacant. lt is to be recognized that in cases where a site has existing improvements on it, the highest
and best use may very well be determined to be different from the existing use. The existing use
may represent an interim use, which begins with the land value for the new highest and best use
and adds the contributory value of the current improvements until the new highest and best use can
be achieved.

An additional implication is that the determination of highest and best use results from the
appraiser's ludgm_ent and analytical skill. The use determined from analysis represents an opinion,
not a fact to be found. in appraisal practice the concept of highest and best use represents the
premise upon which value is based.

The first type of highest and best use - highest and best use of land or a site as though
vacant - assumes that a parcel of land is vacant or that it can be made vacant through the
demolition of any improvements. The question to be answered in the analysis of this type of highest
and best use is; if the land is (or was) vacant, what use should be made of it? That is, what type of
building or other improvements (if any) should be constructed on the land? When a property's
highest and best use can reasonably be forecast to change in the near future, the prevailing highest
and best use is considered an interim use. For instance, the highest and best use of a farm in the
path of urban growth would be interim use as a farm, with its future highest and best use as a
potential residential subdivision. ln certain cases, an appraiser's conclusion is that the highest and
best use of a parcel of land is to be held vacant until price appreciates.

The second type of highest and best use - highest and best use of a property as improved -
pertains to the use that should be made of the property, as it exists. Should a 30-year-old hotel

building be maintained as it ts, renovated, expanded, partly demolished, or any combination of

 

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ANALYS|S AND STATEMENT OF HlG`HEST AND BEST USE (continued)

these$ Or should it be replaced with a use different in type or intensity? The use that maximizes
the investment property's net operating income (NO|) on a long~term basis is its highest and best

USe.

Appiigatlon

Highest and best use analysis builds on the conclusions of market/marketability analysis.
The analysis of the land as though vacant focuses on alternative uses, with the appraiser testing
each reasonably probable use for i) legally permissibility _2) physically possibility, 3) financially
feasibility, and 4) maximally productivity. in contrast, the appraiser applies the four tests in the
analysis of the property as improved, but the focus is not on alternative uses but on three
possibilities= continuation of the existing use, modification of the existing use, or demolition and
redevelopment of the land. These criteria should usually be considered sequentially; it makes no
difference that a use ls financially feasible if it is physically impossible to construct an improvement
or if such a use ls not legally permitted. Only when there is a reasonable possibility that one of the
prior unacceptable conditions can be changed is it appropriate to proceed with the analysis. (Ib,e,
Ap_pra__|sal of R§ai E§tgt§, Thlrteenth Addltion).

l) Legally Permlsslble: The sub|ect property is zoned for school use by the City of Pharr.
The surrounding land use patterns are mixed residentia|, commercial, and light industrial in nature.

2) Physica||y Poss|ble: Although no land is included in the retrospective value opinion, it is
assumed that sufficient site area would be available for either residentia|, commercial, or light
industrial use.

3) Financlally Feasible: The amount of net income, which can be produced, should exceed
the combined operating expenses, financial expenses, and capital amortization.

As of the effective date of the retrospective value opinion, the subject building was not
occupied and was used primarily for storage. With respect to the highest and best use, the
appraisers must consider if marketable alternate uses are economically feasible considering the
condition of the subject lmprovements.

Generally speaking, possible alternate uses for classroom buildings include but are not
limited to offices, child and adult day care centers, charter schools, churches, fitness centers, rehab

facilities, call centers, manufacturing buildings, or warehouse storage. The use that is most likely to

 

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ANALYS|S AND STATEMENT OF HiGHEST AND BEST USE (contlnued)

be considered takes into consideration the existing condition of the improvements as of the effective
date, and specifically the cost involved in converting the subject building to one of the alternate
uses. in other words, the question to be answered with respect to highest and best use is "what use
would a buyer consider?" in this regard, two options exist for a buyer= acquire the building in its
existing condition and make no improvements, or invest capital to convert the building into a
particular use.

As of the effective date, the building (a|though originally designed for classroom use) was
unoccupied and primarily utilized as storage. lndeed, storage would be a use that would require
little to no capital investment Thls use would not require repair of the physical deficiencies nor
would it require an asbestos abatement and remediation.

With regard to any of the other uses, however, the existing condition and more specifically
the ACM and physical defects that are likely to have been discovered by a prudent buyer, would
be taken into consideration. The cost for abatement was approximately $15,000.00. The cost to
cure the physical defects was approximately $268,493.00. Combined these costs result in an
estimated cost of approximately $26.51 per square foot. in addition to this cost, an investor
looking to convert the subject building into say a day care center would need to invest this capital in
addition to the cost for necessary finish-out of the interior into the desired alternate use.

lt ls the appraisers' opinion that given the age of the building such an investment would not
be considered economically feasibie. As such, uses that would require the repair of the physical
deficiencies or ACM abatement are eliminated. Of the possible alternate uses for classrooms, the
only option which would be considered financially feasible would be the use that requires no
significant capital investment. As such, use as warehouse storage i`s considered financially feasible.

4) Maxima|ly Procluctive: Among the financially feasible uses, the use that provides the
highest rate of return, or value, is the highest and best use. The appraiser estimates the maximal|y

productive use of the subject is for warehouse storage use.

Hiahest & Best Use ~ As improved
lt ls the appraisers' opinion that given the current condition of the building, the highest and

best use of the subject building would be for warehouse storage use,

 

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APPRA|SAL PROCESS

An appraisal is an estimate of value; it is an opinion of value. its accuracy depends on the
basic competence and integrity of the appraiser and on the soundness and skill by which he
processes the data. The professional appraiser seeks current facts and seeks to be practical. The
appraiser's opinion must be without bias. As with other types of "markets" the real property
appraiser does not make the market, but rather interprets the market.

The three classic approaches to value, namely the Cost Approach, the income Capitaiization
Approach, and the Sales Compar.ison Approach, each discussed separately below, are all
comparative approaches in that the basic data comes from direct comparisons in the market, indirect
comparisons in the market, and/or the appraiser's judgment which is based on market experience.

in the Cost Approach, the cost to reproduce the property at the date of the appraisal, less an
appropriate allowance for depreciation (physicai deterioration, functional obsolescence, and
economic obsolescencej is made by market comparisons of cost and depreciation. The Cost Approach
is frequently applied to special-purpose or specialty properties, or other properties that are not
frequently exchanged in the market or for which there is not sufficient comparable market data. The
subject is not new construction ar special purpose, and deprecation exceeds 75%. As such, the Cost
Approach is not considered to provide a reliable indication of value.

in the income Capitaiization Approach, the projected operating experience is estimated from
comparable market data. Gross rental schedules, vacancy and collection iosses, fixed expenses,
operating ex-penses, and reserves are estimated and result in an estimate of net income. This net
income is converted to an estimate of value by a capitalization process. The capitalization rate
(interest rate and recapture rate) is based on demonstrated rates found in the market. The method
and technique of capitalization is determined by the nature of the property in the market.

in the Sales Comparison Approach, the subject property is compared to sales of properties
within the similar highest and best use. The sales are analyzed to bring out similar characteristics to
common denominators. Such common denominat.ors may include number of units, number of rooms,
square feet, front feet or a_ gross rent multiplier. Where necessary, adjustments are made to allow
for differences of date of saie, location, size of property, and other factors. The Sales Comparison

Approach is developed within this appraisai.

 

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lNCOME CAPlTAL|ZATiON APPROACH

Definitiog and §gop§

The income Capitallzation Approach is defined as follows= "The income capitalization
approach to value consists of methods, techniques, and mathematical procedures that an appraiser
uses to analyze a property's capacity to generate benefits (i.e., usually the monetary benefits of
income and reversion) and convert these benefits into an indication of present value."“ The process of
discounting income expectancies to a present worth estimate is called "capitaiization". Thls present
worth estimate, the result of the capitalization process, is the amount that a prudent, typically
informed purchaser would be willing to pay at a fixed time for the right to receive the income

stream produced by a particular property.

_S_;§ps In Appivina the income Capita|ization Approach
in order to produce a reliable value estimate through the income Capitaiization Approach,

the appraiser will attempt to develop the following four basic steps:

i. Estimate the Potential Gross lncome;

2. Estimate allowances for vacancies and other losses to determine the Efiectlve Gross income;
3. Estimate the Operatlng E-xpenses to determine the Net Operating income; and

4 Seiect the appropriate capitalization process in order to determine the final value estimate.

§gntrgct Regt

The subject property is owner occupied.

Cgmggrabie Rentai Dgtg
A survey of comparable properties is considered appropriate The following rent
comparabies represent the most recent, most similar rents available and are presented in order to

estimate the market rent for the sub]ect property.

 

4 Appraisal institute, The Appraisai of Reai Estote, 'l'hirleenth Edition, 2008, pg 445.

 

 

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iNCOME CAP|TAL|-ZAT|ON APPROACH (continued)

 

 

COMPARABLE REN'T #i

Location: i 108 Albrad -Avenue, Pharr, Texas

Description: An approximate i2,'000 square foot grade level metal_warehouse partitioned for
dual-tenant use, The improvements were constructed in approximately 1998. Overall
average rent is $0.38 per square foot on a triple net lease basis. LTB ratio 3.7:1.

Lessor: .iMA Enterprlses, |nc.

Lessee: ESP Petro Chemic'als, inc. and Odessa Pumps and Equipment, Ltd.

 

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iNCOME CAPiTALlZA'i'iON APPROACH (continued)

 

RENT COMPARABLE #2

Locati'on: 1209 E. Jasmine 'Aver`tue, McAiien, Texas

Description: Singie-story, block and steel 'rnuiti-tenant office/warehouse; built .new in 2001;
approximately 7,800 square feet total; 35% office area; renting for an average of $0.63 per
square foot per month on a gross lease basis. Land to building ratio = 2.8:1.

Lessor= Juan Manue'i Garza

Lesse.e: Advantage DME, international Company of Marbie, and lnterceramic Tile & Stone.

 

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iNCOME CAPlTALiZATiON APPROACH (continued)

 

RENT COMPARABLE #`3

Locatlon: 920 Ferguson Avenue, Pharr, Texas

Description: An approximately 63000 square foot grade-level metal warehouse; effective age of iO
years; average condition and quality; currently renting for $0.58 per square foot per month on
a triple net lease basis. Land to building ratio = 6.4:1.

Lessor: Wilkins lnvestments, Ltd.

Lessee= =.lD Krane Flooring

 

 

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iNCOME CAPlTALlZAT|ON APPROACH (contlnued)

Compara ble Rent Grid

Sub_|ect= The Stamb.augh Bu|lding

   

    

Adiustment S.ubiect

Rem./si= $0.38 $0.63 $0.58

$F Slze 10,692 12,000 7,800 6,000
O% 0% O%

Age 30 Ef-f. lO Eff'. iO Eff. iO Eff.
*20% -20% ~20%

Quality iOO°/o 23% CC 35% CC 35% CC

climate control ‘|O% 5% 5%

Lease NNN NNN NNN

O% O°/o O°/o

N_et Aci'ustrnents -i O°/o -`l 5% -15%

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Expiana[lgg of Ad|g§tmgnt§

Three comparable facilities are presented. The rents presented indicate an adjusted rental
rate between $0.3.4 to $0.54 per square foot per month on a triple net lease basis. Ad|ustments
are based on paired analysis tempered by the appraisers’ knowledge of the market area. Age is
adjusted based on the effective age of the subiect and comparabies at i% per year. Quality
ad\ustment recognizes overall construction quality and additional climate control area. The

comparables are considered equal in other factors.

 

 

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|NCOME CAP|TAL\ZAT|ON APPROACH (continued)

Greatest weight is accorded the approximate mean of the range, with $0.44 per square foot
on a triple net lease basis deemed reasonable The subject's potential gross income ls estimated as

follows:

Sub_iect Property

10,692 Sq. Ft. @ $0.44 per Sq. Ft. = $4,704.48
x i2 months
Annual Potential Gross income $56,453.76

Aliowance for VacancY and Collection Los§
Vacancy and collection losses for the sublect are estimated at iO%. Rates for industrial
space throughout the area are reported at a range from 5% to 15% by NA| Rio Grande Va|ley

and RealtyRat.es.com.

Operating Expenses

A historical accounting of actual expenses was not availab|e. The appraisers have conducted

 

a market study of operating expenses for similar facilities in a triple net lease scenario, tenants pay
a base rent, utilities, taxes, and insurance. The lessor is responsible for major exterior maintenance,
legal/accounting fees, vacancy/loss collection, and reserves for replacements. The operating
expenses are listed as foilows=

Ta-xes -- Annua| taxes for the subject are estimated based assessments for properties of similar age
with similar highest and best use, Taxes are the responsibility of the tenant in a triple net lease
scene rlo. An allowance of $800.00 per year recognizes the vacancy factor.

insurance - Fire and extended coverage insurance is primarily the responsibiiity of the tenant in a net
lease scenario and is considered as such |n the appraisal of the sublect. insurance is estimated based
on an estimated annual cost of approximately $2,500.00 per year, An aiiowonce of $250.00 per
year is deemed reasonable recognizing the vacancy factor.

Property Management & Administration - The management fee is estimated to be approximately 5%
of the effective gross |ncome. Property managers in the area typically charge from 2% to `|0% for
management fees, with the high end usuaii_y charged for smaller properties Management fees are
estimated based on investment potential from an absentee landlord position.

Maintenance - Th_is item is an allowance for exterior repairs, needed maintenance items, yard care
etc. and is typically negotiated in as many different manners as there are leoses. An allowance of
$2,5000.00 is deemed reasonable.

 

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|NCOME CAP|TAL|ZATlON APPROACH (continued)

Utillties - These expenses are estimated for water/sewer/trash collection. Typicai|y the responsibility
of the tenant, an allowance of $1,200.00 is considered for the vacancy factor.

Legal/Accounting - This expense is estimated for bookkeeping, etc. and is based on competing
comparable facilities. An allowance of $i,OO0.00 per year is within a range considered to be
typical for this item.

Reserve_s for Rep|acernents » This account is established to replace short»|iveci items of real estate such
as roof, fiooring, ceilings, piumbing, electrica|, parking, air conditioners, etc. Reserves for
replacements are estimated at $0.30 per square foot or $3,200.00 per year based survey data
obtained through Rea|tyRates.com.

Proiected Operating Statement

Potentiai Gross Annual income $ 56,453.76
Less Vacancy & Co|iection Loss iO°/o - 5,645_.38
Eftective Gross income $ 50,808.38

Less Annua| Expenses:

Taxes $ 800'.00

insurance 250.00

N\anagement 5% 2,540.42

Main'tenance 2,500.00

Utilities i,Q-OO;OO

Lega|/Accounting i,OO0.00

Reserves for Replacements 3,,200.00

Total Expenses 22,6% $ l 1,490.42
Net Operating income $ 39,317.96

§;ggitaiizqtion Aggiy_$i§

Capitaiization is the process of discounting net operating income to a present worth estimate.
The capitalization rates at which income expectancies are discounted are influenced by the thinking
and action of investors in the market place and conditions in the mortgage market-.

The purchaser-investor must be compensated for giving up the use of his funds, for not
choosing alternative investment opportunities, for undertaking the burdens of investment management,

and for assuming the risks that actual income receipts will not materialize as forecasted. This

 

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|NCOME CAP|TAL|ZAT|ON APPROACH (continuecl)

necessary compensation is reflected in rates of capitalization or discounting determined largely by
market competition. Because income receipts are normally forecast for a finite period, the purchaser~
investor seeks a competitive return on the investment (representing the required compensation
enumerated above) and a return ot capital at the end of the pro|ection period.

An overall rate of capitalization is the annual rate ~.that expresses the relationship between net
operating income and sale price. lt contains provisions for a return on investments as weil as
provisions for capital recovery. The overall rate is utilized in "Direct Capita|ization" which is applying
the rate directly to the net operating income. The result is a value lndication.

An overall capitalization rate may be developed through various techniques The two most
frequently used by this appraiser are: (i) Comparative or Market Method and (2) Yieid investment
Method.

Whenever market data permits, it is best to avoid complex methods of income capitalization
and use instead the Comparative or Market Method with an Overail Rate. The data requirements for
the use of the Market Method of Capitalization are as follows:

-i. Saie prices of similar competitive properties sold to the same type of purchaser-investor in
arm's length open market transactions under market conditions similar to those affecting the
subiect property;

2. Properties with essentially the same physical and location characteristics as the sub|ect (age,
condition, site-improvements, etc.);

3. -Simiiar terms of financing;

4. Simiiar terms of sa|e,'

5. income streams with the same risk and stability characteristics and the same income prolection;
and,
é. A similar capital recovery period and method of capital recovery,

Because of the potential complexities of income Capltaiization Analysis as a mechanical
process, it is sometimes possible to lose sight ot` the fact that the basic valuation formula is both simple
and straightforward Essentlaily., investment analysis boils down to an inter-relation of three essential
variab.ies. They are as follows:

i = Net Operat_ing income

R = Overai| Rate (Capitallzation Rate)

 

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|NCOME CAP|T-AL|ZAT|ON APPROACH (continued)

V = Va|ue

The relation among these variables is as follows:

Al| other complications arise from the frequent necessity of deriving R indirectly and in part.
However, it is possible to develop R directly through market evidence or the Direct Method of
Capitalization. Aside from producing a value estimate more readily explained to a layman, the

appraiser minimizes the risk of technical mechanical errors in calculations.

M_Qrt_aage and Eguity Bgnd of igv§§trn§nt Cgpitgiization

Sometimes an overall capitalization rate cannot be derived directly from the market.
Stringent data requirements must be met and most properties are purchased with debt and equity
capitai. An overall capitalization rate can be estimated if you satisfy the market return requirements
of both debt (mortgage) and equity (owner's interest after all claims and liens have been satisfied).
Lenders anticipate loaning with a competitive interest rate commensurate with the perceived risk of
the investment of they will not make funds available. Lenders generally require that the loan
principle be repaid through periodic amortization payments. Equity investors anticipate receiving a
competitive equity cash return. The return is commensurate with the perceived risk or they will invest
their capital eisewhere.

The mortgage capitalization rate (RM) is the ratio of annual debt service to the principal
amount of the mortgage loan. The rate established at inception of a mortgage is called the
mortgage constant-. The annual mortgage constant for a new loan is calculated by multiplying each
period's payment by the number of payments per year and then dividing this amount loy the amount
of the |'oan. it should be noted that the mortgage capitalization rate (RM) differs from the mortgage
interest rate (YM).

The mortgage capitalization rate is a function of the interest rate', the frequency of
amortization, and the amortization term of the loan. lt is the sum of the interest rate and the sinking
fund factor.

The equity investor seeks a cash return. The rate used to capitalize equity into income is
called the equity capitalization rate (RE). it is the ratio of the annual equity dividend to the amount of

equity investment. For appraisal purposes, a property's equity capitalization rate is the anticipated
Aguirre & Patterson,.inc. Page 62
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|NCOME CAP|TAL|ZAT|ON APPROACH (contlnuecl)

cash flow to the equity investor for the first year of the pro|ected period divided by the initial equity
investment

The overall capitalization rate must satisfy both the mortgage capitalization rate requirement
of the lender and the equity dividend requirement of the equity investor. Mortgage-equity analysis
can be considered as a composite rate, weighted in proportion to the total property investment
represented by debt and equity. The overall capitalization rate is a weighted average of the
mortgage capitalization rate (RM) and equity capitalization rate (R;). The |oan-to~value ratio (M)
represents the loan or debt portion of the property and the equity ratio (E) represents the equity
portion of the property. The sum of M and E is iOO% or i.OO.

Ty_picai mortgage terms and conditions may be obtained by surveying lenders active in the
market area. Equity capitalization rates are derived from comparable sales by dividing the annual
equity dividend of each sale by the equity investment. The equity capitalization rate used to
capitalize the subiect property’s equity dividend ultimately depends on the appraiser's iudgment.
The appraiser surmises how the investors perceive the relationship between market value and
investment value. This is preferably by interviewers with local investors and developers

When the mortgage and equity capitalization rates and ratios are known, an overall
capitalization rate may be derived with the band-of-investment, or weighed-average techniques

using the following formulas:

¢ Mortgage Component = Mortgage Ratio (M_) X Mortgage Rate (RM)
0 Equity Component = Equity Ratio (E) X Equity Capitalization Rate (Re)
0 Overall Ratio (-Ro) = Mortgage Component + Equity Component or Ro = (M x RM)_ + (E x RE)

(The Appraisai of Real Estate; Thirteenth Edition; Appralsai lnstitute; pages 505-507.)

ln the case of the subiect property, the overall capitalization rate is calculated applying the
band-of~investment technique using characteristics derived interviews with local developers and
investors, from comparable sales, from Korpacz Real Estate investor Survey, or from RealtyRates.com.

Current indications are presented as foliaws:

 

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lNCOME CAP|TAL|ZAT|ON APPROACH (continued)

  
   

  
   
 

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The following data ls utl|lzed to develop the copl'rc\|izut|on rate usan the band of investment

technique.
0 Mortgage rotlo: 70%
0 |nTerasl rc're: 5.75%
l Term: 20 year umortizofion, paid monthly

v Mortgage Rate or Mortgage Constont: 0.084250

¢ Equl'ry Copl’rclllzotlon Rate: l l%

 

 

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|NCOME CAP|TAL|ZAT|ON APPROACH (contlnued)

The capitalization rate is calculated as f_ollows=

 
   
 
    
 

   
 
  

Mortgage 'Ratio-_ Mortgage Rate:
0.70 x -O._O_S_4250 _ 0.05__898
!Equity Rcitio- - Equityr _=Capitalizcition Rate ` ' '

 
    

0_.03300

 

030 x OJiO +
indicated Capltaliz'ation Rate 0.09198
ROUNDED TO 9.2%
E tim ted l. o on nt

The comparable rents all include land as a component of the rent. As such, the estimated
market rent also includes land contribution. ln order to estimate the value of the sublect building
only, the land component must be projected and the value of the same subtracted to arrive at
building-only.

The amount of land necessary to service the sub|ect improvements is based on land to
building ratios that are typical of the market. The comparable data presented indicate the

following land to building ratios:

Rent #.i 3.7 : l
Rerti #2 2.8 : l
Rent #3 6.4 : l
Sale #i 6.8 : l
Sale #2 3.4 z i
Sctle #3 3.7 : l

Greatest weight ls accorded the median of the data set, with a land to building ratio of 3.7
deemed reasonable. U`tillzlng this ratio the estimated land required to service the subject building is
calculated as follows:

10,692 sq. ft. x 3.7 = 39,560 sa. ft

The appraisers conducted a market search for comparable industrial lot sales of between

20,00`0 square feet and 60,000 square feet within the PS'JA area. The following three sales were

discovered to have occurred in the two years prior to the effective date of this appraisa|=

    

 
    

A'ddr_es`s nn ` Sale Date l._|se SP Size iP`ricefSFf
490-inr,:Phi-.1rr,r:x ` 3/16/2'010 industrial 7-5,000 40,102 s 1.87
5804 i~i.oumwood,i>hqrrtx 4/19/2010 industriqi 83,000 40,040 $ 2.07
100043Rize'ci<er_in,r>herr,1x e/i¢/20ii indusmai 80,000 33,970 s 2.36

  
      

 

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7
|NCOME CAP|TAL.|ZAT|ON APPROACH (continued)

The land sale data indicates a range from $l .87 to $2.36 per square foot for industrial |ots.
With greatest weight accorded the mean of the range, the estimated land component value is

calculated as follows:

Land Requlred to Servlce Sublect Bidg Est. Price / sq. ft.
39,560 sq. ft. x $Z.il /sq. ft. = $83,472.44

E tim cl ri< tVal B l ome a it liz tion A r ch
The sublect's estimated market value by the income Capitaiization Approach is calculated as

follows and abstracts the estimated land component to arrive at the estimated value for the

 

building only=
Net Operatlng income $ 39,317.96
Divided by Cap. Rate / 9.2%
Subtotal $ 427,369.1 8
Less Est. Land Necessary to Servlce Subiect Building - 83,472.44
Est. Retros_pective Market Value by income Cap. Approacli $ 343`,896.74
R~OUNDED TO $ 345,000.00
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SALES COMPAR|SON APPROACH

Dei"lriltign ang Sgoge

“ln the sales comparison approach, the appraiser develops an "|n the sales comparison
approach, the appraiser develops an opinion of value by analyzing closed sales, listings, or
pending sales of properties that are similar to the subject property. The comparative techniques of
analysis applied in the sales comparison approach are fundamental to the valuation process.
Estates of market rent, expenses, land value,- co'st, depreciation, or other value parameters may be
derived in the other approaches to value using comparative techniques. Slmilarly, conclusions
derived in the other approaches are often analyzed in the sales comparison approach to estimate
the adjustments to be made to the sale prices of comparable propertiesl

“|n the sales comparison approach, an opinion of market value is developed by comparing
properties similar to the subject property that have recently sold, are listed _for sale, or are under
contract (i.e., for which purchase offers and a deposit have been recently submitted). A major
premise of the sales comparison approach is that an opinion of market value of a property can be

supported by studying the market's reaction to comparable and competitive proli>erties."5

Steps in App|vina the Sales `Comparisan Anproaclt

in order to establish an indication of market value for the subject property, an orderly
process takes place allowing the appraiser to carefully analyze the data gathered and form this
data into an indication of market value for the property being appraised. This analysis follows a

logical sequence whereby:

i. The appraiser finds properties similar to the subject for which sales, iistlngs, contracts are
available.
2. Comparabies are qualified by the appraiser when he confirms the price, terms, motivation, or

authenticity of each comparable.

3. Each comparable is then compared to the subject property giving consideration to the time of
sale, location influences, and physical characteristics

4. Each comparable is then evaluated and adjusted as being more, less, or equal in value to the
subject property, based on each of the three broad classifications mentioned in i’aragraph
#3.

 

5 Appralsal lnstliute, The Apprai'sai of Real Estate, Thirteenth Editlon, 2008, Pg. 297.

 

 

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SALES COMPAR|SON APPROACH (continu_ed)

5. After comparing the comparabies to the subject property and making adjustments for any
major dissini|lorities, each comparable will then indicate a probable selling price. From these
indicated values a final value estimate will be correlated._

§ompgra l_:gle Sales

The appraisers completed a thorough market search for recent sales; however, very few
recent sales are available. Tfhe three best available and most similar comparable sales are

presented with analysis to follow.

 

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SALES COMPAR|SON APPROACH (continued)

 

 

COMPARABLE SA'LE #l

Type of Property': O.ftice/Warehouse

Location: 906 Owassa Road, Pharr, Texas

Date of Sa|e: Apri| l4, 2011

Conslderation: $360,'000.00

|mp'rovement~s: An approximate 6,'000 square foot single-story pre-engineered metal panel
office/warehouse office,~ 1,200 square feet of office (20%) and 4,800 square feet of
warehouse; completed in 2007. Condition and construction are considered average. Grade
level. Lot_size 40,,560 square feet. Land to building ratio = 6.8:1

Leg_al Description: Lot 15, Stee| Horse lndustr|al Park Subdivislon, Clty of Pharr, Hida|go County,
Te'xas

Grantor: E| Norte Ho|dings

Grant'ee.' .Midw_'est lnspectlon Servlces

Confir`rnation: Agent/MLS#i 40400; HCDR Doc. No. 2198043

Units of Comparis_on:
Price/SF: $56.40

 

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SALES COMPAR\SON APPROACH (contlnued)

 

COMPARABLE SALE #2

Type of Property-: Of.f.ice/Wareh'ouse

Location: AOO E. Pecan Bou|eva rd, McAllen, Texas

Date of Sale: Novembei' 22, 2010

Co'nsio|eration: '$470,000.00

Te_rms: Cash_to Seller

|mpr-overnents: An approximate 10,500 square foot single-story, grade-|eve\, pre-engineered
metal panel office/warehouse office; 1,830 square feet of office (21%} and 8,670 square
feet of warehouse; completed in 2003. Condition and construction are considered average.
Lot size ls 35`,'860 square f,eet.

Lega| D.escription: Lot B, Eag|e P|ace Su|odivision, City of McAllen, Hidaigo County, Texas

Grantor: SANB

Grantee: B`ox Family LP, l.td.

Recording: Document #2156731, HCDR

Verifica_tlon: Agen_t/D_eec|

Unit of Comparlson:

" Price Per Square Foot: $44.76

 

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sALEs coMPAR\soN APPRoAci-i jc<>minued)

 

 

COMPARAELE s-ALE #3

Ty_pe of Property= Office/Ware_house

Locatiom 3102 Hib.is'cus, Pharr, Texas

Date of Sales March »1`5_,_2012_.

Consideratiom $214_5,000.00

Ter~ms: Cash to $el|er v

improvements: An approximate 5-,000 square foot single-story, grade»level, pre-engineered metal
panel office/warehouse offioe; 800 square feet of office (16%] and 4,200 square feet of
warehouse; completed in 2005`; Conditlon and construction are considered average. Lot
size is 18,482 square feet.

Le.g_al Description_: "Lot_ 14, 3100 Sugar Subdiv|sion, City of Pharr, Hie|a|go County, Texas

Grantors Vantage Bank Texas `

Gran‘tee: Jan R. Koepke

Recor.ding: Documeht #2290227, HCDR

V'erlfloation: Ager\t MLS#153612/Deed

Unit of Comparison:
Price Per Square Foot: $43.00

 

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SALES COMPARISON APPROACH (continued)

Comparab|e Adjustment Grid

 
  
     

       

A'd`justment Su biect
Tota| Sales Pric`e $360,000 $470,000 $215,000
Le-ss Est. Land Va|ue $80,000 $107,000 $40,000
Sales Price Building Only $280,000 $363,000 $175,000
Price/SF (|and abstracted) $46.67 $34.57 $35.00
Financing Terms Cash Cash Cash

0 0 0
Con_ditions of Sa|e Arms Arms Arms

Length Length Length

0 0 0
Market Conditions Apr~l 1 Nov-10 Mar-12

0 0 0

    

Adjusiecl Pri'cel$q 'F-t- B'u`ild`lng; O.nl_y-
1

Location Owassa Pecan Hibiscus
N/A N/A N/A
S|ze 10,6_92 6,000 1-0,500 5,000
-5% O% -5%
Age 20 Eff. 4 Eff. 7 Eff. 7' Eff.
-1 6% -l 3% -1 3%
Qua|it'y 100% CC 20% CC 21% CC 16% CC
1 O% 1 O% 1'0%

Ne't Ad ustments ..~1 1 % -8%

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Adi. Va|ue/5a -Ft Buildlng Only

       
 

 

 

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SALES COMPAR|SON APPROACH (contlnued)

§§omgarabl§ Sales Anglg§ls

The comparables presented represent the best available data and are considered to
provide a reliable indication of value, Adjustments are based not only on matched paired analysis
but on the appraisers' knowledge and experience Abstracting the land component eliminates the
need for location adjustments Slze adjustment recognizes the market phenomenon that smaller
buildings command a higher price per square foot. Age is adjusted at 1% per year in effective
age difference. Qua\ity adjustment recognizes overall construction quality and additional climate
control area.

The comparable sales presented produce the following adjusted values for the subject for

building area on|y:

Comparable #i ------------- $ 41.53 per square foot
Comparalole #2 ------------- $ 33.53 per square foot
Comparable #3 ------------- $ 32.20 per square foot

Greatest weight of consideration is given the lower end of the range due to effective age,

with $33.00 per square foot deemed reas_onab|e.

Estimated As ls Va|ue Bv Sales §ggmpgrison Approggh

The subjec't's_ estimated as is market value by the Sales Comparison Approach is calculated as

 

 

foilows:
Subled:
10',692 Sq Ft @ $33.00 /sf = $ 352,836.00
ROUNDED TO $ 353,000.00
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CORRELAT|ON

The approaches to value have been considered and the estimated "as is" market value
indications, excluding FF&E, is as follows:

Cost Approach Not Applicab|e
income Capitalization Approach $ 345,000.00
Sales Comparison Approach $ 353,000.00

The Cost Approach is that approach in appraisal analysis, which is based on the proposition
that the informed purchaser would pay no more than the cost of producing a substitute property
with the same utility as the subject property. The Cost Ap.proach, in effect, will tend to set the price
which specific users would pay for its' specific purposes, reflecting the extent to which the property
contributes to the utility or profitability of that particular enterprise Due in large part to the subject
age and depreciation, the cost approach is not considered applicable as it would not provide a
reliable indication of market value.

The income Capitalization Approach estimates gross income and expenses based on actual
projection data, which is abstracted from the market. The net profit is then capitalized into value
by use of an overall rate, which is also abstracted from the market. This approach, in effect,
indicates what funds a typically informed investor would commit for the right to receive the benefits
provided by the subject under the present market conditions. Thls approach indicates a market
value of approximately $3~45,000.00 for the subject property.

Greatest weight is accorded the Sales Comparison Approach which allows the appraisers a
more precise method of abstracting the land value from each comparable sales price rather than
subtracting the subject's hypothetical land contribution. i's a process of analyzing sales of similar
recently sold properties in order to devise an indication of the most probable sales price of the
property being appraised-. The reliability of this technique is highly dependent upon the degree of
comparabliity. The comparable sales utilized are considered to have reasonable comparability.
Neverthe|ess, there is a lack of more recent sales that are similar in size, quality and iocation;

therefore, the Comparable Sales Approach is presented to lend support to the final value estimate.

 

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CERT|FICATE OF VALUE

lt is the ap.praisers’ opinion that the retrospective market value estimate, as of February i,
2012, excluding FF&E, was as follows:

THREE HUNDRED AND FlFTY~THREE THOUSAND DOLLARS
($353,000.00)

B'ased upon the appraisers" analysis of past events assuming a competitive and open
market, the appraisers estimate a reasonable marketing period for this type of property at the
market value estimated in this report to not exceed twenty-four months.

Based upon the apprais`ers' analysis of past events assuming a competitive and open market,
the appraisers estimate a reasonable exposure period for this type of property at the market value

estimated in this report would not have exceeded twenty-four months.

.c>-(]lé_ M@`°*"ipm

Joe Patterson, MAl, SRA irene B. Thompson
Pre'sident, TX-132159.5~G Associate,TX-1336175-G

 

 

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ADDENDUM

 

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Texa.s A-.ppc-aiser -Licen§sin_g and clarification Boacd
P.O. §Box 1'218_8 A`us_i_in, T-ex_as 78711-2‘|88
Certifiecl_§;_enerai Real Est'at'e App'raiser
Nun‘iber: TX '-i _2_¢2"1§'5'9;5 ='C-,‘._ _ ` §
issuer intes'ijzi)'i-_`:s _. Expi-res-._; __ .42_-/3:1/_2'0,15

~Appreis'er; JQ.S_EPH`WILLIAM PATTERSON";

    

'Texas Appraiser licensing and Cerlificatian Act, Texas Occupsiit_ions Cor.le,

- / i_§
` . Having provided satisfactory evidence of the qualifications required by the /<jzfc(&/@/L£ `_

 

 

 

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Apprciisal Rep.ort of the St'ambaugh Bui|dirig

 

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QUALIF|CAT|ONS OF THE APPRAlSER
JOSEPH W. PATTERSON, iii

State Licens|nci and Certification
Licensed and certified by the State of Texas as a Genera| Real Estate Appraiser: License Number
TX-1321595-G (Date of issues October 25, 2013and Date of Expiration-. December 31, 2015)

P[ofesslg_ngi D§signgtion§
Member of Appraisal institute with MA| and SRA Designations

E c ion
Bacheior of Business Administration from Baylor University, Waco, Texas

Graduate Study at Bayior Unlverslty Law Schoo|, Waco, Texas
Continuing Education in Real Estate and Appraising at Unlversity of Houston, University of North
Caro'iina, San Diego Universlty, Unlversity of Coiorado, Unlversity of ||linois, N\ills Co|iege (Oakiand),

and Unlverslty of Texas Pan Amerlcan

Profe§siona| Affi||ation§
Member of the McAilen Board of Reaitors

Member of the Texas Association of Realtors
Member of the Nationai Association of Reaitors

Professiorigi Offices i'leld
President of Rotary Ciub of McAilen, Texas, Chapter #2076, 1996»1997

Presldent of the Society of Real Estate Appraiser, Rio Grande Va|ley, Chapter #144 - 1983-1984

Board of Directors of the Society of Real Estate Appralser, Waco, Texas, Chapter #145 - 1975-
1977

Board of Directors of the Society of Real Estate Appralser, Rio Grande Va|ley, Chapter #144 »-
1976~1991

Board of Directors of the Amerlcan institute of Real Estate Appraisers, South Texas Chapter '#29 -
1986-1991

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instructor for Real Estate Appraising and Real Estate Law at Hii| .|unior Coliege, Hii|sboro, Texas

_Substitute instructor for Real Estate Principie, Real Estate Law, Real Estate Finance, Real Estate
Appraising and Business

 

Aguirre & Patterson, |nc. Page 78
Appraisai Report of the Stambciugh Bui|ding

 

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Page 39 of 55

QUALiFlCATiONS OF THE APPRAlSER jcontlnued)
JOSEPH W. PATTERSON iii

Pr x ri nc

Joe Patterson began his appraisal experience in 1971 as an independent appraiser with Smith Real
Estate Association in Waco, Texas for five years. He was also a staff appraiser for First Federai
Savings and Loan Assoclation iri Waco, Texas for one year. He then associated himself with D.U.
Buckner, a local MAl, for seven years as an independent fee appraiser. in 1986 he opened his own
office, J.W. Patterson and Associates, and currently covers the Rio Grande Vaiiey area from his
McAilen office.

As an appraiser for the past 43 years, he has worked on the following types of properties: single
family residences, duplexes, apartrnents, manufacturing properties, shopping centers, discount houses
and supermarkets, hospitals, hotels and moteis, funeral homesl restaurants, developments, churches,
schoo|s, medical clinics, warehouses, banks, farms, ranches, bowling aileys, convention centers, grain
eievators, gins, condominium prolects, food processing piants, civilian airport facilities, and "FlRREA"
affordable housing program. Other assignments include partial taking, eminent domain, easements,
and partial lnterests.

Joe has also served as the guest speaker and iecturer for numerous local service clubs, professional
organizations and schools, including Unlverslty of Texas Pan Amerlcan.

E§;§Dtl! Cor_ngiet§d §;ogr§g`§tgc|i§§

US'PAP Update 2012/2-013, No. 101, offered by the Columbia institute, Aus’rin, Texas, January 18,
2013

Appraising in a Depressed Market, No. 125, offered by the Columbia institute, Austin, Texas,
January 16, 2013

interagency Ruies of Banks and Credit Unions, No. 011, offered by the Columbia institute, Austin,
Texas, January 15,2013

erte it R-ight, No 148, offered by the Columbia institute, Austin, Texas, January 17, 2013

On|ine Appraisal Curricuium Ov.erview - Residentiai, offered by the Appraisal institute, January 14,
2013,

Oniine Business Practices and Ethics, offered by the Appraisal institute, December 1 2, 201 2

Repo'rt Writing-the UAD, No. 120, offered by the Columbia institute, Harlingen, Texas, August 2,
201 i

Th'e Mortgage Loan System, Na. 015, offered by the Columbia institute, Harlingen, Texas, August 1,
201 1

Practice of Appraisal Review -- FHA Protocoi, No. 145, offered by the Columbia institute, Harlingen,
Texas, February 2011

USPAP Update 2010-2011, No. 10.1, offered by the Columbia institute, Harlingen, Texas, March
201 1

USPAP Update No. 101 , September 2009

identifying Reievant Characteristics Course 019 -- The Columbia institute, Sept. 2009

FHA Today Course 1 14 - The Columbia institute, March 2009

Fannie Mae Today Course 1'1 6 - The Columbia institute, March 2009

Bas|c Appraisal Princip|es, The Appraisal institute, North_ Texas Chapter, May 2007

Scope of Work and Appraiser Due Di|igence, No. 3.6, The Columbia institute, Aprii 2007

USPAP Update No. 1 01 , The Columbia institute, Aprii 2007

Fundamental of Appraisal Revlew No. 105, The Columbia institute, Aprii 2007

 

Aguirre & Patterson, lnc. Page 79
Appraisal Report of the Stambaugh Building

 

Case 7:15-cv-00465 Document 1-6 Filed in TXSD on 11/06/15 Page 40 of 55

QUAL|F|CAT|ONS OF THE APPRA|SER (continued)
JOSEPH W. PATTERSON |ll

FHA, the URAR & the 1025 No. 104, The Columbia institute, -Apri| 2007

Business Practi'ces and Ethics, The Appraisal institute, February 2007

Uniform Standards of Prof_essionai P-ractice, USPAP l-.ipdate, The Appraisal institute, Houston Chapter,
September 2005

Litigatlon Skilis for this Appraiser, The Appraisal institute Houston Chapter, Sept. 2005

Ethics & Special Purpose Properties, The Appraisal institute, September 2005

Appraising from B|ueprints and Specifications, The Appraisal institute Online Continuing Education
Program, ,Chicago, ii|inois, Fel'.)ruary, 2005

Uniform Standards of Professionai P-ractice, USPAP Update, The Appraisal institute North Texas
Chapter, .i.une 2003

Smali Ho_te|/Mote| V.a|uation, the Appraisal institute Online Continuing Education Program, Chicago,
lilinois, November 2002

Appraisal Procedures, The Appraisal institute, Daniels Coiiege of Business, Denver, Colorado, August,
2002

Techniques of Appraisal Review, The Columbia institute, Course #108, October 2001

Residential Appraisal Update, The Columbia institute, course #1 17, October 2001

Stand'ards of Professional Practice, Part C, The Appraisal institute, September 2001

G|S and Appraising_. The Appraisal institute, Austin, Texas, August, 1999

FHA Appraisal Ru|es #1 19, The Columbia institute, September 1999

Standarc|s of professional Practi<:¢=.-Ir Part C, 'i'he Appraisal institute, September 1999

Comprehensive E`xamination Prep, the Appraisal institute, February 1998

 

Agu`irre & Patterson, |nc. ~ ` v Page 80
Appraisal Report of the Stamb_aug`h Bui|dlng

 

Case 7:15-cv-00465 Document 1-6 Filed in TXSD on 11/06/15 Page 41 of 55

 

Texas Appraiser- Li-cet\stng§ and`Certifiration Board
P.O. Box 1-2‘1-38' A'ustin. -Tex;as 7_8?11-2'| 88
Cer-ti`f_ied Gen`e_rai Real Estate Appraiser

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'Aguirre & Patterson, |nc. Page 81
Appraisal Report of the Stambaugh Building

 

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QUALlFlCATlONS OF T'HE APPRA|SER
|RENE B. THOMPSON

State Lice_nsina and Certification
License-d and certified by the State of Texas as a General Real Estate Appraiser: License Number
T.X~l 336175-(3 (Date of issue: June 3, 2014; Date of Expiration: .iune 30, 201())

Education
Graduate, Wesiaco High School, May, 1992

Three years education toward Bachelor of Arts in History and Phiiosophy, Brown Universlt-y,
September, 1992 through May, 1995

Continuing Education in Real Estate and Appraising at The Appraisal institute, Lincoln Graduate
Center, The Columbia institute, Trlnlty Unlverslty, Lon Morri's Co|lege, and Geo Le.onard Schooi of
Real Estate.

Professional Exg§rl§n§§

irene Thompson has been associated with Aguirre & Patterson, lnc. from September, 1998, to the
present. As an independent appraiser, Mrs. Thompson has gained valuable experience appraising
various types of properties throughout the Rio Grande Va|ley». The following is a list of the types of
properties Mrs. Thompson has appraised: single-family residences, multi-family apartments,
residential condominiums, residential lots, unimproved land tracts, subdivisions, right of ways,
easements, dine-in and fast food restaurants, condominium shell facilities, single-tenant and multi-
tenant retail centers, professional business centers, commercial buildings, convenience stores,
professional offices, medical clinics, assisted living centers, rehabilitation hospitais, banquet hails,
community centers, churches, public schools, charter schoo|s, adult and child day care centers,
office/warehouses, distribution wareho.uses, manufacturing warehouses, condominium warehouses,
cold storage facilities, cement piants, farms_, ranches, motels, hoteis, mobile horne and RV parks,
unimproved commercial lots, self»service and automatic car washes, government facilities subiect to
_GSA ieases, golf cours_es, auto service/quick lube auto shops, and leasehold estates.

Recentiy ngpieted §our§e Stud|es
7-Hour USPA`P Update, McKissock, June 2014

Appraisal of Seif-Storage Faciiities, Mci(issocl<, June 2014

Land and Site Vaiuation, McKissoc`k, May 2014

Environmental issues for Appraiser_s, McKissoci<, May, 2014

Mold, Pollution and The Appraiser, McK-issocl<_, May 2014

7-Hour USPAP Update, McKissocl<, May 2012

Ad Valorem Tax Consuitation, Mci(issock, May 2012

Dlsclosures & Disclaimers, McKissock, May 2012

How to Analyze and Va|ue income Prope'rties for Flnancing, Mcl<issock, May 2012

Priv.ate Appraisal Asslgnment_s, Mci(issock', May 2012

Anaiyzing Operating Expenses, The Appraisal institute, May 6, 2010

`Advanced lnternet Search Strategi_es, The Appraisal institute, May 5, 2010

Uniform Standards of Professiona| Appraisal Practi.ce, Update - The Appraisal institute, February
22, 2010

FHA Today, No. 1 14, The Columbia institute, March 2, 2009

Technology for Today's Appraiser, McKissock, May 30, 2008

 

A¢uirre & Patterson, lnc. Page 82
Appraisal Report of the Stambaugh Buiiding

 

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QUALiF|CAT|ONS OF THE APPRA|SER
lRENE B. THOMPSON icontinued)

Survey of the Cost Approach, No. 1015f The Columbia institute, Aprii 8, 2008

FHA, the URAR & the 1025, No. 104, The Columbia institute, Aprii 7, 2008

Uniform Standards of Professional Appraisal Practice_. Update - The Appraisal institute, May 24,
2007

Uniform Standards of Professional Appraisal Practice (Course USPAP) - Oniine ~ Center for Career
Eclucation -- March 20, 2006

Fundamenta|s of Real Estate Appraisal - Correspondence - Lon Morris Co|iege - February 1, 2006

Appraising Resic|entiai Properties - Correspondence - Lon Morris Coliege - August 18, 2004

Uniform Standards of Professionai Appraisal Practice, Update (Course- USPAP 2004} - The
Appraisal institute, February 27, 2004

industry Update Manufactured Housing - Lincolr\ Oraduate Centerr February 24, 2003

New Fannie Mae Appraisal Guide - The Columbia institute, March 14, 2003

Uniform Standards of Professional Appraisal Practice, Update [Course~ USPAP 2002) - The
Appraisal institute, Aprii 27, 2002

Principles and Techniques of Appraisal Review (Course - 108) - The Columbia institute, June 9, 2001

Farm and Land Appraisal iC'ourse ~ 637) - National Association of Master Appraisers, Lincoln
Graduate Center, Aprii 28, 2001

income Propert-y Appraisal (Course - 231) -~ Correspondence ~ Lon Morris College, February 28,
2000

Uniform Standards of Professional Appraisal Practice (Course - USPAP 99) Correspondence -
Trinity University, September 1, 1999

Prlnciples of Real Estate iCourse - 1 1 1) - Geo Leonard Schoo| of Real Estate, August 9, 1998

Real Estate Appraisal iCourse - 21 1]- Geo Leonarci Schoo| of Real Estate, August 29, 1998

Practice of Real Estate Appraisal (Course - 636_) ~ Llncoln Graduate Center, Fei:truar)f 2, 1999

Real Estate Law (Course - 31 1) -- Geo Leonard School of Real Estate, February 20, 1999

 

Ag'uirre & Patterson, lnc. Page 83
Appraisal Report of the Stambaugh Building

Case 7:15-cv-00465 Document 1-6 Filed in TXSD on 11/06/15 Page 44 of 55

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

 

CITATION

 

THE STATE TEXAS

NOTICE TO DEFENDANT: You have been Sued. You may employ an attorney. If you
or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.
TEXAS SECRETARY OF STATE IN TURN BY SERVING

CHUBB CORPORATION

THE CORPORATION TRUST COMPANY

820 BEAR TAVERN RD

WEST TRENTON NJ 08628

You are hereby commanded to appear by filing a written answer to the PLAINTIFF'S
SECOND AMENDED ORlGlNAL PETITION at or before 10:00 0’clock a.m on the
Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable 389th District Court of Hidalgo County, Texas at the Courthouse,
100 North Closner, Edinburg, Texas 78539.

Said Petition was filed on the on this the 3RD day of AUGUST, 2015 and a copy of same
accompanies this citation. The file number and Stylc of said suit being, C-5149-14-H,
PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRlCT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C., ERO INTERNATIONAL, L.L.P. D/B/A ERO
ARCHITECTS, RIMKUS CONSULTING GROUP, INC, CHUBB
CORPORATION

Said Petition was filed in Said court by Attorney JESUS RAMIREZ EBONY PARK
STE. B 700 NORTH VETERANS BLVD, SAN JUAN , TEXAS 78589 .

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 24th day of August, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, 'I`EX__AS'_ 1'

<;_`;;\)>u.,or-"' ,,Q»s 514 ‘:"

PRISCILLA RIVAS DEPUTY CLERK

 

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Page 45 of 55

CERTIFIED MAIL 7015-0640-0004-9607-8746

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 24th day of August, 2015 I, Priscilla Rivas, Deputy Clerk
of the 389th District Court of Hidalgo County, Texas mailed to the defendant in Cause
Number C-5149-14-H, Pharr San Juan Alamo lndependent School District VS. Texas
Descon, L.P., Descon 4S, L.L.C., ERO lnternational, L.L.P. d/b/a ERO Architects,
RIMKUS CONSULTING GROUP, INC, CHUBB CORPORATION a copy of the
citation along with a copy of the petition by certified mail return receipt requested
Return receipt was returned on the __ day of , 201_ (or unserved for
the reason on the certificate return) .

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 24th day of August, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXA_S 7

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PRI'S CILLA RIVAS, DEPUTY CLERK

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. lf the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is , my date of birth is
and the address is ,and l
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
20 .

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Page 46 of 55

CHUBB CORPORATION

THE CORPORATION TRUST COMPANY
820 BEAR TAVERN RD

WEST TRENTON NJ 08628

    

  

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Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Page 49 of 55

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

 

CITATION

 

THE STATE TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you
or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.

RIMKUS CONSULTING GROUP, INC
4200 MONTROSE BLVD

STE 480

HOUSTON TX 77006

You are hereby commanded to appear by filing a written answer to the PLAINTIFF'S
SECOND AMENDED ORIGINAL PETITION at or before 10:00 0’clock a.m on the
Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable 389th District Court of Hidalgo County, Texas at the Courthouse,
100 North Closner, Edinburg, Texas 78539.

said Pemidn was filed an the an this the 3RD day af AUGUST, 2015 and a copy dr game
accompanies this citation. The file number and style of said suit being, C-5149-14-H,
PHARR SAN JUAN ALAMo INDEPENDENT sCHooL DISTRICT vs. TEXAS
DESCoN, L.P., DEsCoN 4S, L.L.C., ERo INTERNATIONAL, L.L.P. D/B/A ERo
ARCHITECTS, RIMKUS CONSULTING GROUP, INC, CHUBB
CoRPoRATIoN

Said Petition was filed in said court by Attorney JESUS RAMIREZ EBONY PARK
STE. B 700 NORTH VETERANS BLVD SAN JUAN, TEXAS 78589 , .

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 24th day of August, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS_ ,

"\\. \`.-) _ (`" G":'.»:'_ l/)) (--`
PRISCILLA RIVAS DEPUTY CLERK

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Page 50 of 55

CERTIFIED MAIL 7015-0640-0004-9607-8739

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 24th day of August, 2015 l, Priscilla Rivas, Deputy Clerk
of the 389th District Court of Hidalgo County, Texas mailed to the defendant in Cause
Number C-5149-l4-H, Pharr San Juan Alamo lndependent School District VS. Texas
Descon, L.P., Descon 4S, L.L.C., ERO International, L.L.P. d/b/a ERO Architects,
RIMKUS CONSULTING GROUP, INC, CHUBB CORPORATION a copy of the
citation along with a copy of the petition by certified mail return receipt requested
Return receipt was returned on the ___ day of , 201_ (or unserved for
the reason on the certificate return) .

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 24th day of August, 2015.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXA__S

<\ § §_;),;JV¢_L/K /)'<1__

PRISCILLA RIVAS, DEPUTY CLERK

 

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
ln accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is ,and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
20 .

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration / SCH Number

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Page 51 of 55

RIMKUS CONSULTING GROUP, INC
4200 MONTROSE BLVD

STE 480

HOUSTON TX 77006

 

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 P@g§tr§,gc§|§,§@d

8/13/2014 4:51:05 PN|
Hida|go County District Clerks
Reviewed By: Yesica Garza

CAUSE NO. C~5149-14-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaim‘z`jjr

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

Em@€mm@@¢m@@m€m

389‘h JUDICIAL DISTRICT

` PLAINTIFF, PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
CERTIFICATE OF WRITTEN DISCOVERY

    

 

 

 

I certify that on the 14th day of August, 2014, I served the following discovery
instruments on opposing counsels of record by via certified mail, return receipt requested, pursuant
to the Texas Rules of Civil Procedure:

1. PLAINTIFF’S RESPONSES TO DEFENDANT’S .INTERROGATORIES AND
REQUEST FOR PRODUCTION TO PLAINTIFF; and

2. PLAINTIFF’S RESPONSES TO REQUEST FOR DISCLOSUR-E FROM
DEFENDANT ERO INTERNATIONAL, LLP, d/b/a ERO ARCHITECTS

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-500?'

By. .i W

JESUS RAMIREZ

sBN 16501950

ROBERT scHELL

sBN 24007992
ATroRNEYS FoR PLAINTIFF
PHARR sAN JUAN ALAMo
iNDEPENDENT scHooL DISTRICT

Plai.ntiffPharl" San Juan Alamo lndependent School District’s Certiticate of Writtcn Discovery Pagc 1 of 2

 

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 P§g@[r§{,>t§nf/ Ei§d

8/13/2014 4:51:05 P|V|
Hida|go County District Clerks
Reviewed By: Yesica Garza

CERTIFICATE OF SERVICE

I, Robert Schell, certify that on the 14th day of August, 2014, a true and correct
copy of the foregoing Plaintiff Pharr San Juan Ala.rno lndependent School District’s Certificate of
Written Discovery Was served via certified U.S, Mail, return receipt requested on the following
counsels of record:

Via Certified Maif,

Return Receigt Regueszed No. 701'3 3 020 0001 1808 385 6
Am! §mai!:_r_ibeniamin(&),benlawsa. com

David P. Benjamin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP

2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

Via Certified Mail1

Return Receipl Reguestcd No. 7013 3020 0001 1808 3863
And Ery_ail: sorour§e@cbvlgw.com

Stephanie O’Rourke

COKINOS, BOSIEN & YOUNG

10999 IH-10 West, Suite 800

San Antonio, Texas 78230

W//M

ROBERT SCHELL

 

Plaintiff Pharr San Juan Alamo lndependent School District’s Certificate of Written Discovery Page 2 of 2

 

Case 7:15-cv-OO465 Document 1-6 Filed in TXSD on 11/06/15 Pa§&t§4i<gh)5:5€d

8/3/2015 5:41:54 P|\/|
Hida|go County District C|erks
Reviewed By: Prisci||a Rivas

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT

Plaz'nti]j‘
vs. 389th JUDICIAL DISTRICT

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defena'arzts

WJ@WJ¢MW#FM@@CMCMWJ

HIDALGO COUNTY, TEXAS

PLAINTIFF’S SECOND AMENDED ORIGINAL PETITION

NOW COMES, Pharr San Juan Alamo lndependent School District, Plaintiff herein,
complaining of Texas Descon, L.P., Descon 4S, L.L.C., ERO International, L.L.P., d/b/a ERO
Architects, Frank Lam & Associates, Inc., Rirnkus Consulting Group, Inc. and Chubb
Corporation, and would show the Court as follows:

I.

Plaintiff intends to conduct discovery under Leve12 pursuant to Texas Rules of Civil

Procedure 190.2.

II.
Jurisdiction and Venue

Venue is proper in Hidalgo County, Texas, as all or a substantial part of the acts or
omissions giving rise to this cause of action occurred there. Tex. Civ. Prac. & Rem. Code,
Section 15.002(a)(l).

This court may properly assert jurisdiction over the non-resident Defendant pursuant to
The Texas Long Ann Statute, Tex. Civ. Prac. & Rem. Code, Section 17.041', et. seq. The non-

resident Defendant has established sufficient minimum contacts with the State of Texas so that

 

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Hida|go County District Clerks
Reviewed By: Prisci|la Rivas

this Court may assert personal jurisdiction over Defendant Without offending traditional notions

of fair play and substantial justice.

III.
Parties

Plaintiff is Pharr San Juan Alamo lndependent School District, a public independent
school district and a political subdivision, duly formed and existing under the laws of the State of
Texas, based in Hidalgo County, Texas.

Defendant is Texas Descon, L.P., a business entity With its principal office located in
McAllen, Hidalgo County, Texas. This Defendant has already been served in this action.

Defendant is Descon 4S, L.L.C., a business entity with its principal office located in
McAllen, I-Iidalgo County, Texas. This Defendant has already been served in this action.

Def`endant is ERO International, L.L.P. d/b/a ERO Architects, a business entity with its
principal office located in McAllen, Texas. This Defendant has already been served in this
action.

Defendant is Frank Lam & Associates, Irlc., a business entity With its principal office
located in Austin, Texas. lt may be served through its registered agent for process, Frank Lam,
at 508 W. 16th Street, Austin, Texas 78701.

Defendant is Rimkus Consulting Group, Inc,, a business entity With its principal office
located in Houston, Texas. lt may be served through its registered agent for process, William F.
Henri, at 4200 Montrose Boulevard, Suite 480, Houston, Texas 77 006.

Defendant Chubb Corporation is a business entity With its principal office located in New
Jersey. It may be served by serving its registered agent for process, The Corporation Trust

Company, 820 Bear Tavern Road, West 'l`renton, New Jersey, 08628.

